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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

EVOL, INC.,                                           §
                                                      §
        Plaintiff,                                    §
                                                      §
v.                                                    §
                                                      §   CIVIL ACTION NO. 3:09-cv-1839-O
SUPPLEMENT SERVICES, LLC d/b/a                        §
MuscleMeds,                                           §
                                                      §
        Defendant.                                    §


                             JOINT MOTION TO AMEND
                        THE APRIL 14, 2010 SCHEDULING ORDER

TO THE HONORABLE COURT:

        Plaintiff Evol, Inc. (“Evol”) and Defendant Supplement Services, LLC d/b/a MuscleMeds

(“MuscleMeds”) (collectively, the “Parties”) file this Joint Motion to Amend the April 14, 2010

Scheduling Order (“Scheduling Order”).

        1.      Pursuant to the District Court’s Order of Reference for Pretrial Management, filed

April 13, 2010, this case was referred by the District Court to this Court for pretrial management,

and this Court issued the Scheduling Order on April 14, 2010.

        2.      Evol is an affiliate of Dymatize Enterprises, Inc., the plaintiff in a lawsuit styled

Dymatize Enterprises, Inc. v. Maximum Human Performance, Inc., Cause No. 3:09-cv-0046,

pending in the United States District Court for the Northern District of Texas, Dallas Division

(the “’46 Lawsuit”). Musclemeds is an affiliate of Maximum Human Performance, Inc., the

Defendant in the ’46 Lawsuit. The same counsel representing Evol in this matter also represent

Plaintiff Dymatize Enterprises in the ’46 Lawsuit, and the same counsel representing




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Musclemeds in this suit also represents Defendant Maximum Human Performance in the ’46

Lawsuit.

       3.      The ’46 Lawsuit is set for trial on Judge Reed O’Connor’s four-week docket

beginning August 2, 2010, and counsel and the parties have been ordered to be ready for trial on

two days notice at any time during this four-week period.

       4.      In order to allow the Parties, and their counsel, to prepare for the August trial

setting in the ’46 Lawsuit the Parties respectfully request that all deadlines set forth in this

Court’s April 14, 2010 Scheduling Order be extended for a period of sixty (60) days. At the

present time, no deadlines set forth in the Scheduling Order have expired.

       5.      More specifically, the Parties request that this Court amend the Scheduling Order

to set the following deadlines:

               Motions for leave to join parties to be filed by Wednesday, September 15, 2010.

               Motions for leave to amend pleadings to be filed by Wednesday, September 15,
               2010.

               All discovery to be completed by Wednesday, December 15, 2010.

               Motions to compel discovery to be filed by Monday, November 8, 2010.

               Designation of expert witness and service of expert reports by party bearing
               burden of proof by Tuesday, October 5, 2010.

               Designation of expert witness and service of expert reports by party not bearing
               burden of proof by Monday, November 8, 2010.

               Daubert Objections to expert witnesses to be filed by Tuesday, February 15,
               2011.

               Mediation to be conducted by Wednesday, December 29, 2010.

               Joint Estimate of Trial Length and Status Report to be filed by Wednesday,
               January 5, 2011.

               Dispositive Motions to be filed by Monday, January 17, 2011.

               Motions Not Otherwise Covered to be filed by Monday, January 17, 2011.

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   DATED: July 9, 2010.

                             Respectfully submitted,


                             /s/ Katherine B. Bandy
                             Casey L. Griffith
                               State Bar No. 24036687
                             Katherine B. Bandy
                               State Bar No. 24045445
                             KLEMCHUK KUBASTA LLP
                             8150 North Central Expressway
                             Suite 1150
                             Dallas, TX 75206
                             Telephone: 214/367-6000
                             Telecopy: 214/764-6673

                             Attorneys for Plaintiff EVOL, Inc.



                             /s/ Prescott W. Smith
                             Craig W. Weinlein
                               State Bar No. 21095500
                             Prescott W. Smith
                               State Bar No. 24013534
                             CARRINGTON, COLEMAN, SLOMAN
                               & BLUMENTHAL, L.L.P.
                             901 Main Street, Suite 5500
                             Dallas, TX 75202-3767
                             Telephone: 214/855-3000
                             Telecopy: 214/855-1333
                             cweinlein@ccsb.com
                             psmith@ccsb.com

                             Robert J. Schoenberg
                             RIKER DANZIG SCHERER HYLAND PERRETTI, LLP
                             Headquarters Plaza
                             One Speedwell Avenue
                             Morristown, NJ 07962-1981
                             Telephone: 973/451-8511
                             Telecopy: 973/451-8604

                             Attorneys for Defendant Supplement Services, LLC,
                             d/b/a MuscleMeds



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